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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

ABILENE DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
Vv. NO. 1:21-CR-043-02-H
FELICIA MUNOZ,
Defendant.

ORDER ACCEPTING REPORT AND RECOMMENDATION
OF THE UNITED STATES MAGISTRATE JUDGE
CONCERNING PLEA OF GUILTY

After reviewing all relevant matters of record, including the Notice Regarding Entry
of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation
Concerning Plea of Guilty of the United States Magistrate Judge, and no objections thereto
having been filed within fourteen (14) days of service in accordance with 28 U.S.C.
§ 636(b)(1), the undersigned District Judge is of the opinion that the Report and
Recommendation of the Magistrate Judge concerning the Plea of Guilty is correct, and it is
hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and
Defendant is hereby adjudged guilty.

Sentence will be imposed in accordance with the Court’s scheduling order.

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JAMES SLEY HENDRIX
UNITED STATES DISTRICT JUDGE

SO ORDERED.
Dated November / , 2021.

 
